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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 SELINA KYLE,

                         Plaintiff,                   Docket No.: 1:20-cv-06142 (KPF)

 v.
                                                      ANSWER TO CROSS-CLAIMS
 DONALD D. LEWIS, in his individual and
 professional capacities, and PIERCE
 BAINBRIDGE BECK PRICE & HECHT
 LLP,

                         Defendants.



                                 ANSWER TO CROSS-CLAIMS

       Defendant Pierce Bainbridge LLP f/k/a Pierce Bainbridge Beck Price & Hecht LLP

(“PB” or the “Firm”), by and through its undersigned counsel, pleads as and for its answer to

Defendant Donald Lewis’ Cross-Claims against it as follows:

                                FIRST CROSS-CLAIM
         (Defense And Indemnification Under California Labor Code Section 2802)

       1.       Admit.

       2.       Denied; the quotation stated in the allegation in paragraph 2 is to PB’s Answer to

Plaintiff’s original Complaint. The Answer to the original Complaint was superseded when PB

filed its Answer, Affirmative Defenses and Cross-Claim on June 4, 2021 [Dkt. No. 64] in

response to Plaintiff’s Amended Complaint. Paragraph 17 of the Amended Answer states that

“PB admits that Defendant Donald Lewis held the title of partner at PB in 2018 and supervised

plaintiff’s employment. PB denies knowledge and information sufficient to form a belief as to

Lewis’ residency or domicile. The allegation concerning the definition of ‘employer’ states a



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legal conclusion to which no response is required; to the extent a response is required, the

allegation is denied.”

        3.       PB admits that the portion of the allegation in paragraph 3 of the First Cross-

Claim that is set-off by quotation marks accurately quotes paragraph 2 of PB’s Cross-Claim

against Lewis, but denies the remainder of the allegations set forth in paragraph 3.

        4.       The allegations stated in paragraph 4 of the First Cross-Claim purport to state a

legal proposition under California Labor Code Section 2802 to which no responsive pleading is

required; to the extent a responsive pleading is required, PB denies knowledge and information

sufficient to form a believe as to the truth of the allegations.

        5.       The allegations stated in paragraph 5 of the First Cross-Claim state conclusions of

law to which no responsive pleading is required; to the extent a responsive pleading is required,

the allegations are denied.

        6.       Admit.

        7.       The allegations stated in paragraph 7 of the First Cross-Claim state conclusions of

law to which no responsive pleading is required; to the extent a responsive pleading is required,

the allegations are denied.

        8.       With respect to the allegations set forth in paragraph 8 of the First Cross-Claim, to

the extent that they refer to the Complaint, the Complaint has been superseded by the Amended

Complaint and both the Complaint and the Amended Complaint speak for themselves. To the

extent a responsive pleading is required, PB denies knowledge and information sufficient to form

a belief as tot the truth of the matters asserted.

        9.       The allegations stated in paragraph 9 of the First Cross-Claim state conclusions of

law to which no responsive pleading is required; to the extent a responsive pleading is required,



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the allegations are denied.

                                    SECOND CROSS-CLAIM
                                  (Common Law Indemnification)

        1.       PB lacks knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in paragraph 1 of the Second Cross-Claim.

        2.       The allegations stated in paragraph 2 of the Second Cross-Claim state conclusions

of law to which no responsive pleading is required; to the extent a responsive pleading is

required, the allegations are denied.

        3.       The allegations stated in paragraph 3 of the Second Cross-Claim state conclusions

of law to which no responsive pleading is required; to the extent a responsive pleading is

required, the allegations are denied.

                                      THIRD CROSS-CLAIM
                                         (Contribution)

        1.       The allegations stated in paragraph 1 of the Third Cross-Claim state conclusions

of law to which no responsive pleading is required; to the extent a responsive pleading is

required, the allegations are denied.

        2.       The allegations stated in paragraph 2 of the Third Cross-Claim state conclusions

of law to which no responsive pleading is required; to the extent a responsive pleading is

required, the allegations are denied.

                                   AFFIRMATIVE DEFENSES

        1.       California Labor Code Section 2802 is not applicable in this action because Lewis is

not a current employee of PB and this action was commenced after Lewis was terminated by PB

because of his “1. Flagrant violation of the terms of [his] administrative leave; 2. Obstruction of an

ongoing sexual harassment and retaliation investigation; 3. Improper disclosure of confidential

information related to the investigation; and 4. Retaliation against Ms. Selina Kyle and other

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employees at the firm for their participation in the investigation.” (See PB Cross-Claim Against

Lewis ¶ 3).

        2.       California Labor Code Section 2802 is not applicable in this action because any

losses incurred by Lewis are not a consequence, direct or otherwise, of Lewis’ discharge of his duties

to or obedience to directions by PB.

        3.       California Labor Code Section 2802 is not applicable in this action because Lewis, at

the time of the alleged sexual assault of Selina Kyle knew or should have known that his conduct

with respect to Plaintiff was unlawful.

        4.       California Labor Code Section 2802 is not applicable because it has no extraterritorial

effect and does not apply to a former employee who is and was a resident of New York.

        5.       Lewis’ Cross-Claims must be denied in whole or in part because any damages that

Lewis may suffer or incur are the result of his own intentional, knowing, or reckless misconduct.

        6.       Lewis’ Cross-Claims must be denied in whole or in part because any damages that

Lewis may suffer or incur are the result of a frolic rather than the performance of his duties to his

former employer.

        7.       Lewis’ Cross-Claims must be denied in whole or in part because any damages that

Lewis may suffer or incur are the result of a detour rather than the performance of his duties to his

former employer.

        8.       Lewis’ Cross-Claims must be denied in whole or in part because any all damages that

Lewis may suffer or incur are the result of his own grossly negligent or negligent conduct.

        9.       Lewis’ Cross-Claims for common law indemnification or contribution must be

denied in whole or in part because he is not a current employee and this action was commenced after

Lewis was terminated by PB for his “1. Flagrant violation of the terms of [his] administrative leave;

2. Obstruction of an ongoing sexual harassment and retaliation investigation; 3. Improper disclosure

of confidential information related to the investigation; and 4. Retaliation against Ms. Selina Kyle
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and other employees at the firm for their participation in the investigation.” (See PB Cross-Claim

Against Lewis ¶ 3).

        10.      To the extent Lewis is determined, in whole or part, to be entitled to recover any

money from PB by virtue of the operation of California Labor Code Section 2802 or under common

law indemnification or contribution, PB is entitled to set off against any such sum the amount Lewis

owes to PB for its costs and fees, including its reasonable attorneys’ fees, in connection with having

to defend this action; PB incorporates by references as if fully set forth herein its Cross-Claim against

Lewis set forth in its Answer, Affirmative Defenses, and Cross-Claim to the Amended Complaint at

¶¶ 1-24.

        11.      To the extent Lewis is determined, in whole or part, to be entitled to any money from

PB by virtue of the operation of California Labor Code Section 2802 or under common law

indemnification or contribution, PB is entitled to recoup any such sum the amount Lewis owes to PB

for its costs and fees, including its reasonable attorneys’ fees, in connection with having to defend

this action. PB incorporates by references as if fully set forth herein its Cross-Claim against Lewis

set forth in its Answer, Affirmative Defenses, and Cross-Claim to the Amended Complaint at ¶¶ 1-

24.

        12.      Lewis’ Cross-Claims must be denied in whole or in part because they are against

public policy.

        13.      Lewis’ Cross-Claims must be denied in whole or in part because Lewis has failed to

post a bond or other security.

        14.      Lewis’ Cross-Claims must be denied in whole or in part under the doctrine of waiver.

        15.      Lewis’ Cross-Claims must be denied in whole or in part under the doctrine of

estoppel.

        16.      Lewis’ Cross-Claims must be denied in whole or in part under the doctrine of

equitable estoppel.
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         17.       Lewis’ Cross-Claims must be denied in whole or in part under the doctrine of laches.

         18.       Lewis’ Cross-Claims must be denied in whole or in part under the applicable statute

of limitations.


Dated: June 30, 2022
                                                 Respectfully submitted,


                                                 /s/ Edward D. Altabet
                                                 Edward D. Altabet, Esq.
                                                 COHEN SEGLIAS PALLAS
                                                 GREENHALL & FURMAN PC
                                                 55 Broadway, Suite 901
                                                 212.871.7400
                                                 ealtabet@cohenseglias.com

                                                 Attorneys for Defendant Pierce Bainbridge LLP




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